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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

CYRUS R. SANDERS,                           :
    Plaintiff,                              :
                                            :              No. 1:10-cv-01241
             v.                             :
                                            :              (Judge Kane)
EMANUEL ROSE, et al.,                       :
    Defendants                              :

                                        ORDER

      AND NOW, on this 12th day of January 2021, in accordance with the Memorandum

issued concurrently with this Order, IT IS ORDERED THAT:

      1. Defendants’ motion for summary judgment (Doc. No. 189) is DENIED;

      2. The above-captioned case is REFERRED to the Court’s Prisoner Litigation
         Settlement Program;

      3. Joseph Barrett, Esq., the ADR Coordinator for the Middle District of Pennsylvania, is
         APPOINTED to serve as mediator;

      4. All settlement discussions are confidential and may not be utilized by any party if
         settlement is not reached;

      5. The parties shall complete mediation within forty-five (45) days of the date of this
         Order; and

      6. The parties and the mediator shall promptly notify the Court in writing if this case is
         resolved through mediation.

                                                           s/ Yvette Kane
                                                           Yvette Kane, District Judge
                                                           United States District Court
                                                           Middle District of Pennsylvania
